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February 16, 2024


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Hon. Zahid N. Quraishi
United States District Judge
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street Room 2020
Trenton, NJ 08608


       Re: Argument in Nos. 23-cv-3335, 23-cv-3818, 23-cv-14221, and 23-cv-20814

Dear Judge Quraishi:

         Pursuant to this Court’s February 7, 2024 minute order, Plaintiffs and Defendants (together,
the “Parties”) in Nos. 23-cv-3335 (Bristol Myers Squibb Co. v. Becerra et al.), 23-cv-3818 (Janssen
Pharmaceuticals, Inc. v. Becerra et al.), 23-cv-14221 (Novartis Pharmaceuticals Corp. v. Becerra
et al.), and 23-cv-20814 (Novo Nordisk Inc. et al. v. Becerra et al.) submit this letter regarding oral
argument in the above-captioned cases.

       The Parties met and conferred (by e-mail and by video conference on February 12, 2024) and
determined that they have differing positions regarding how and when the argument should proceed.
Accordingly, this letter contains two sections—one setting out Plaintiffs’ proposal and another setting
out Defendants’ proposal.

PLAINTIFFS’ PROPOSAL

        1. Dates for the Argument. Plaintiffs are available on March 7 and March 8, and propose
that the Court hear argument in all four cases on one of those dates. Although Plaintiffs raise various
claims, hearing all of the cases together on the same day would maximize the efficiency of the oral
argument, given the overlapping nature of the claims asserted and certain common defenses to those
claims.

       Plaintiffs oppose Defendants’ proposed format, under which Bristol Myers and Janssen
would be argued in March, while Novartis and Novo Nordisk would be argued at a later date.
According to Defendants, bifurcation is appropriate because Defendants’ Novartis and Novo
Nordisk reply briefs are not due until March 27 and March 22, respectively. That rationale has three
shortcomings:

       x   First, it is difficult to square Defendants’ approach with the Court’s order, which directs
           the parties to propose argument dates and a schedule for all four cases, not just two of
           them.
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       x   Second, there is no need to postpone the argument for Defendants’ reply briefs. Although
           the Parties’ briefing schedules contemplate that Defendants may file a reply, Defendants
           have not cross-moved for summary judgment on independent claims, but instead have
           generally asserted defenses to the claims raised by Plaintiffs. Defendants fully addressed
           those defenses in their answering briefs, filed in January. If Defendants believe there are
           any new arguments raised by Plaintiffs in their reply briefs, they can address those issues
           during the oral argument or in post-argument briefing if the Court so desires.
           Alternatively, Defendants could file their reply briefs before the oral argument. The final
           Plaintiff-side briefs in Novartis and Novo Nordisk will be filed by February 23, roughly
           two weeks before the proposed hearing dates, leaving sufficient time for Defendants to
           file their replies before the hearing on any issues that have not already been fully briefed.

       x   Third, Defendants’ bifurcated approach would be inefficient and would needlessly burden
           the Court and prejudice Plaintiffs. Hearing the cases on separate dates would result in
           duplication of the arguments on overlapping issues. (Although Novartis and Novo
           Nordisk involve some issues not presented in the other cases, Defendants have asserted
           largely the same defenses in all four cases and the Court would benefit from considering
           all of the claims at the same time.) Splitting up the arguments would also prejudice the
           Plaintiffs because each argument would address common issues without the participation
           of two of the Plaintiffs. Hearing all the cases together on a single date would avoid these
           problems.

       2. Schedule for the Argument. Plaintiffs propose that the Court hold argument from
10:00 am to 2:00 pm on a single day. In Plaintiffs’ view, four hours of argument is warranted because
the argument will involve four separate cases that together assert at least seven constitutional and
statutory challenges to the Inflation Reduction Act’s Drug Price Negotiation Program and its
implementing regulations. The issues presented in these cases are complex and present novel
questions arising under a recently enacted federal statute.

         To avoid repetition and maximize efficiency, Plaintiffs propose to divide the argument among
the different issues. One attorney on each side (i.e., one attorney for all plaintiffs and one attorney
for all defendants) would present argument on each issue, and the time allocated to each issue would
be divided equally between Plaintiffs and Defendants. Plaintiffs further propose to group these
issues into morning and afternoon sessions, separated by a short break, as follows:

                                        MORNING SESSION
                                       (10:00 am – 12:00 pm)
   x   This session would cover the takings claims, voluntariness defenses, and the unconstitutional
       conditions doctrine – 120 minutes (60 per side).
   x   Plaintiffs would begin with a brief introduction and then divide their joint presentation into
       three segments, each argued by a separate attorney: (1) Plaintiffs’ affirmative argument that
       the Program constitutes a physical taking under the Fifth Amendment; (2) Plaintiffs’
       argument that the voluntariness doctrine invoked by Defendants does not apply to takings
       claims; and (3) Plaintiffs’ alternative arguments that the Program is not voluntary, and in any
       event violates the unconstitutional conditions doctrine.
   x   At the end of Plaintiffs’ presentation, Defendants would argue the issues described above.
   x   Plaintiffs would have 10 minutes of rebuttal, covering all of the issues in this session.
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   x   This framework would track the briefing, avoid repetition, and ensure that each of the
       Plaintiffs that has asserted a takings claim (Bristol Myers, Janssen, and Novartis) has an
       opportunity to address one aspect of the takings issue and the defenses Defendants have
       raised on that issue. Although the voluntariness and unconstitutional conditions points are
       also relevant to some of the other claims and have been raised by Defendants in all four cases,
       it makes sense to address them together with the takings claims given their cross-cutting
       application.

                                      AFTERNOON SESSION
                                       (12:10 pm – 2:00 pm)
   x   This session would cover the remaining constitutional claims and also the separate statutory
       arguments challenging CMS’s actions. Each issue would be argued by a separate attorney
       and Plaintiffs would have the option to reserve a portion of their time for rebuttal.
   x   First Amendment claims in all four cases – 30 minutes (15 per side).
   x   Eighth Amendment claim in Novartis – 20 minutes (10 per side).
   x   Separation of Powers and Due Process claims in Novo Nordisk — 20 minutes (10 per side).
   x   Statutory challenges to CMS’s actions in Novo Nordisk – 40 minutes (20 per side).


DEFENDANTS’ PROPOSAL

      Defendants are available to present argument in Bristol Myers and Janssen any day between
March 5, 2024 and March 8, 2024—the dates the Court has indicated it is available. These matters
have been fully briefed by the parties and Defendants believe these matters can now be set for
argument at the Court’s convenience.

        The parties have not, however, completed summary-judgment briefing in the other two
cases—Novartis and Novo Nordisk. Pursuant to the scheduling order that the Court entered,
Plaintiffs in Novartis will submit their summary-judgment response brief on February 23, 2024 and
Defendants have until March 27, 2024 to submit their reply. Novartis Pharmaceuticals Corp. v.
Becerra, No. 23-cv-14221-ZNQ-JBD, ECF No. 20 (Dec. 21, 2023). Similarly, Plaintiffs in Novo
Nordisk will submit their summary-judgment response brief on February 23, 2024, and Defendants’
reply is due on March 22, 2024. Novo Nordisk, Inc. v. Becerra, No. 23-cv-20814-ZNQ-JBD, ECF
No. 24 (Nov. 28, 2023).

        Defendants do not believe it is necessary, efficient, or appropriate for the parties to conduct
argument in these two other matters before the parties have an opportunity to finish briefing their
respective dispositive motions. Indeed, given the significance of these cases and the nature of
Plaintiffs’ claims, Defendants believe they would be prejudiced by being deprived of an opportunity
to submit replies in support of their cross-motions for summary judgment before the Court hears
argument. Further, depriving Defendants of an opportunity to finish briefing their dispositive
motions before argument would be highly unusual in a summary-judgment posture—and is
especially unnecessary given that Plaintiffs have not requested emergency relief nor moved to modify
the briefing schedule to which the parties had previously agreed. Accordingly, Defendants
respectfully request that the Court defer argument in Novartis and Novo Nordisk until briefing has
been completed.
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        Defendants note that proceeding with oral argument in Bristol Myers and Janssen while
briefing is completed in the other two matters will offer appreciable benefits. As the Court is aware,
the issues in Bristol Myers and Janssen overlap completely—so much so that Defendants submitted
consolidated briefs in those cases. By contrast, Novartis and Novo Nordisk introduce a number of
new issues and claims—including threshold questions of constitutional and statutory jurisdiction, as
well as distinct statutory and constitutional claims—that are not present in Bristol Myers and
Janssen. Accordingly, Defendants believe it would be easier for the parties and the Court to separate
the two sets of lawsuits into separate arguments, presented on separate days.

        Defendants understand that Plaintiffs oppose this approach and believe that the Court’s order
directs the parties to make themselves available for argument in all four cases at the beginning of
March notwithstanding the fact that briefing will not yet be completed in Novartis and Novo
Nordisk. Defendants do not share that interpretation and, respectfully, do not believe that the Court
intended to schedule oral argument in the middle of summary-judgment briefing, or otherwise
abrogate the briefing schedules set by the Court without an explicit order so stating.

        Defendants will, of course, make themselves available to present argument consistent with
whatever order the Court issues. For the reasons set forth above, however, Defendants believe that
the Court should defer argument in Novartis and Novo Nordisk until after March 27, 2024, when
briefing is completed in those matters. Defendants do not otherwise object to the format for the
argument that Plaintiffs articulate in subsection 2 of their proposal if the Court decides to hold
argument in all four cases together after all summary judgment briefing is complete.


                                                     Respectfully submitted,

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